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       ORDERED in the Southern District of Florida on August 31, 2011.



                                                                 Robert A. Mark, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________


                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA

        ______________________________
                                      )
        In re                         )                CASE NO. 10-26989-BKC-RAM
                                      )                CHAPTER 7
        HARVEY HERNANDEZ,             )
                                      )
                  Debtor.             )
        ______________________________)
                                      )
        BANK LEUMI USA,               )
                                      )
                  Plaintiff,          )
                                      )
        vs.                           )                ADV. NO. 11-2428-BKC-RAM-A
                                      )
        HARVEY HERNANDEZ,             )
                                      )
                  Defendant.          )
        ______________________________)


                            ORDER OF DISMISSAL (§727 CLAIM)

                The Court conducted a hearing in the main case on August 30,

        2011, on a Motion to Approve Compromise and Settlement Between

        Debtor and Bank Leumi USA [DE# 313].         The settlement was approved.
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Therefore, it is -

     ORDERED as follows:

     1.      This adversary proceeding is dismissed.

     2.      Pursuant to Rule 7041, Fed.R.Bankr.P., a copy of this

order will be served on the Trustee and the Assistant United States

Trustee, for their review. The Trustee and Assistant United States

Trustee shall have 15 days from the entry of this order to file

objections to dismissal of the §727 claims.

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AUST




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